               Case 3:17-cv-07210-SK Document 379 Filed 03/13/23 Page 1 of 3




 1   BRIAN D. NETTER
     Deputy Assistant Attorney General
 2   STEPHANIE HINDS
     United States Attorney
 3   MARCIA BERMAN
     Assistant Branch Director
 4   STUART J. ROBINSON
     Senior Counsel
 5   R. CHARLIE MERRITT
     Trial Attorney
 6   U.S. Department of Justice
     Civil Division, Federal Programs Branch
 7   1100 L Street NW
 8   Washington, DC 20005
     (415) 436-6635
 9   E-mail: stuart.j.robinson@usdoj.gov

10   Attorneys for Defendants

11
                               UNITED STATES DISTRICT COURT
12                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

13
14    THE PEOPLE OF THE STATE OF               No. 3:17-cv-7106-SK
      CALIFORNIA,
15
                      Plaintiff,
16
              v.
17
      UNITED STATES DEPARTMENT OF
18    EDUCATION, et al.,
19                    Defendants.
20
21                                             No. 3:17-cv-7210-SK
      MARTIN CALVILLO MANRIQUEZ, et al.,
22
                      Plaintiffs,
23                                             JOINT STATUS REPORT
              v.
24
      UNITED STATES DEPARTMENT OF
25    EDUCATION, et al.,
26                    Defendants.

27
28



     Joint Status Report
     3:17-cv-7106-SK; 3:17-cv-7210-SK
               Case 3:17-cv-07210-SK Document 379 Filed 03/13/23 Page 2 of 3




 1
 2          The parties hereby submit the following status report in response to the Court’s January
 3   11, 2023 order.
 4          As noted in prior reports, the Department of Education is in the process of discharging “all
 5   remaining federal student loans borrowed to attend any campus owned or operated by Corinthian
 6   Colleges Inc. . . . from its founding in 1995 through its closure in April 2015.” E.g., ECF No. 371
 7   (Calvillo Manriquez); ECF No. 182 (California). This relief was first announced on June 1, 2022.
 8   See    https://www.ed.gov/news/press-releases/education-department-approves-58-billion-group-
 9   discharge-cancel-all-remaining-loans-560000-borrowers-who-attended-corinthian-colleges. As of
10   this filing, the Department continues to make significant progress on Corinthian discharges. To
11   date, the Department has discharged Corinthian loans for over 200,000 Corinthian borrowers. The
12   200,000 includes both borrowers who applied for borrower defense relief and those who did not
13   apply but are getting group discharges per the Department’s June 1, 2022 announcement.
14          After extensive discussions regarding the effect of this action on the above-referenced
15   litigation, the parties are now in agreement that a negotiated dismissal of both actions is
16   appropriate. The parties believe that additional time would be beneficial to allow them to continue
17   their negotiations, which include ensuring that the dismissal of the Calvillo Manriquez litigation
18   satisfies the requirements of Federal Rule of Civil Procedure 23. The parties will request a
19   conference with the Court to present and receive feedback on a joint proposal for dismissing the
20   litigation as soon as practicable. Accordingly, the parties respectfully request that the Court set a
21   further deadline for a status report in 60 days.
22   Dated: March 13, 2023                              Respectfully submitted,
23                                                      BRIAN D. NETTER
                                                        Deputy Assistant Attorney General
24
                                                        MARCIA BERMAN
25                                                      Assistant Branch Director
26                                                      /s/ Stuart J. Robinson
                                                        STUART J. ROBINSON
27                                                      Senior Counsel
                                                        R. CHARLIE MERRITT
28                                                      Trial Attorney



     Joint Status Report
     3:17-cv-7106-SK; 3:17-cv-7210-SK
               Case 3:17-cv-07210-SK Document 379 Filed 03/13/23 Page 3 of 3



                                                       U.S. Department of Justice
 1                                                     Civil Division, Federal Programs Branch
                                                       1100 L Street NW
 2                                                     Washington, DC 20005
                                                       (415) 436-6635
 3                                                     E-mail: stuart.j.robinson@usdoj.gov
 4                                                     Attorneys for Defendants
 5
 6
 7   /s/ Bernard A. Eskandari
     ROB BONTA
 8   Attorney General of California
     NICKLAS A. AKERS
 9   Senior Assistant Attorney General
     BERNARD A. ESKANDARI (SBN 244395)
10   Supervising Deputy Attorney General
     AMOS E. HARTSTON (SBN 186471)
11   Deputy Attorney General
     300 South Spring Street, Suite 1702
12   Los Angeles, CA 90013
     Tel: (213) 269-6348
13   Fax: (213) 897-4951
     Email: bernard.eskandari@doj.ca.gov
14
     Attorneys for Plaintiff the People of the State
15   of California
16
     /s/ Joseph Jaramillo
17   JOSEPH JARAMILLO (SBN 178566)
     Housing & Economic Rights Advocates
18   3950 Broadway, Suite 200
     Oakland, CA 94611
19   Tel.: (510) 271-8443
     Fax: (510) 868-4521
20   Email: jjaramillo@heraca.org
21   /s/ Eileen M. Connor
     EILEEN M. CONNOR (SBN 248856)
22   Project on Predatory Student Lending, Inc.
     769 Centre Street, Suite 166
23   Jamaica Plain, MA 02130
     Tel.: (617) 322-2271
24   Fax: (617) 781-9625
     Email: econnor@ppsl.org
25
     Attorneys for Class Plaintiffs
26
27
28



     Joint Status Report
     3:17-cv-7106-SK; 3:17-cv-7210-SK
